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      3   (916) 443-8055
      4   Attorney for Defendant
      5   BERNARDO QUEVEDO
      6                                 IN THE UNITED STATES DISTRICT COURT
      7
                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
      8
      9
          UNITED STATES OF AMERICA,                        Case No.: 10-469 JAM
    10
                                 Plaintiff,                STIPULATION AND ORDER
    11
                                                           ADVANCING MATTER
    12              v.
    13    BERNARDO QUEVEDO,
    14
    15                           Defendant.
    16
    17    IT IS HEREBY STIPULATED by and between Assistant United States Attorney
    18    Michael Anderson, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel
    19    for Defendant Bernardo Quevedo, that the matter be added to the court’s criminal
    20    calendar on March 6, 2012, at 1:30 p.m., for change of plea. The matter is presently set
    21    for Trial Confirmation Hearing on March 20, 2012. This request applies to Defendant
    22    Quevedo only.
    23
    24    DATED:                 March 1, 2012              /S/   Michael Anderson___________
    25                                                      MICHAEL ANDERSON
                                                            Attorney for Plaintiff
    26
    27
                                                            /S/   Clemente M. Jiménez________
    28                                                      CLEMENTE M. JIMÉNEZ
                                                            Attorney for BERNARDO QUEVEDO


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      1                                           ORDER
      2
          IT IS SO ORDERED, that the above-entitled matter be placed on the court’s criminal
      3
          calendar on March 6, 2012, at 1:30 p.m. for change of plea.
      4   This 1st day of March, 2012
      5
                                                          /s/ John A. Mendez_______
      6                                                   HON. JOHN A. MENDEZ
      7                                                   United States District Judge
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